Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 1 of 26 PagelD #: 1979

Honorable Judge,

| am writing this letter on behalf of my father Vittorio Amuso who has been incarcerated
for almost 32 years (since | am 12 years old) and will be turning 89 in November. | am
asking from the bottom of my heart to please consider him for compassionate release.

Since a little girl, my wish has always been to have my dad back home where he
belongs. Through the years, there are not enough words in this world to describe how
supportive he has been to myself and our entire family; his constant support and
guidance have given me the tools to stay on a positive path. Because of Dad’s
wisdom and advice, | successfully received my Bachelor’s in Science in Elementary
Education (Pre-K-6) and Master's in Science in Literacy (K-12). Being a pillar in my life,
Dad has given me the drive to be a dedicated teacher for 17 years; our daily phone
calls begin with him asking me if | had a blessed night and wishing me a blessed day.
His upbeat attitude, no matter what challenges he may be facing, has always been and
continues to be a constant in my life; whether he sings me a song or recalls funny
memories, he always wants to be sure | am smiling and laughing. His number one
concern is that my family and | are healthy and happy. You will never hear him
complaining. He always says, “I am hanging in there; don’t worry about Dad!”

My father continues to be a exemplary inmate; other inmates say they would happily
add time to their sentences, so that Dad could have his freedom; guards and even the
warden from the last prison he was in, have said if they could, would send him home:
that speaks volumes.

My dad has endured so much these past 30+ years within the prison system, upon
that, losing my amazing mother-his wife, a number of siblings, cousins, and dear
friends. Countless important events-holidays, birthdays, graduations, his grandchildren
growing and maturing into fine adults, have been so difficult to experience without him,
and | know equaily hard for him; since Covid-19 came to be, my family and | have not
been able to visit him; numerous restrictions and lockdowns have hindered our visits.
You can only imagine how hurtful this is for him, myself, and our family, especially with
his advanced age and declining health. He has unfortunately contracted Covid-19 a
few times and is currently dealing with other ailments that are compromising his health
and ability to do various tasks on his own. Rheumatoid arthritis is deeply affecting his
hands, knees, and hip. Being in a prison setting, only adds more harm. These
conditions are not suitable nor appropriate for a man his age with ailing health issues.
He deserves to be in the comforts of his home. My dad has an endless amount of love
and support here at home, that it would be our honor, privilege, and pleasure to take
care of him. In 2012, when we lost our beautiful mother, she left our home to my
brother and me; we have stayed here in hopes that one day our dad may come back to
the home he built so beautifully with our mother. To be able to tend to his daily needs
and spend quality time with him, is all we strive to have.
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 2 of 26 PagelD #: 1980

| wish | could find the right words to thank you, Your Honor, for taking the time to read
this. | hope that my words give you a small picture of the wonderful man my dad truly
is. He is a man like no other; he is my everything, as | call him-my hero, my Superman. |
implore you to please take his compassionate release into consideration; as my dad
always says, “We must never give up hope.” His “little” girl, will never give up. May
God bless you.

Respectfully yours,

Viele ena

Victoria Amuso
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 3 of 26 PagelD #: 1981

Honorable Judge,

I am writing this letter on behalf of my father Vittorio Amuso who has been away for
over 31 years and is now approaching 89 years of age. I am pleading with you to please
grant him compassionate release.

My dad has raised me as one of his own since I am 9 years old; for as long as I can
remember, he has given me an immeasurable amount of love, respect, and compassion.
The adoration he had for my mother has formed me into the woman I am today.

My father taught me the importance of receiving an education and to walk this world
with morals, values, and class. At the age of 20, I became a mother; I was scared to start
this new life, but Dad held my hand and never left my side. He made sure I hada
beautiful wedding, and I was lucky to have him around for when my daughter was born.
My daughter, Teresa, graduated top of her class and is now a nurse practitioner. My
dad’s wisdom and guidance for sure helped her on this journey. Dad left shortly after my
second child, my son, Gaetano was born, and sadly was not home for my third birth-
when my son Vittorio, his namesake was born. My boys grew into two honest,
trustworthy, hard-working men because of the impact my dad had on their lives.

With Dad’s age and ailments, I would only hope and pray with your consideration that
you will grant him this well deserved compassionate release. I am fortunate to live next
door to my brother Robert and sister Victoria-where Dad will reside shall you grant him
this. It would be my honor to take care of my dad the way he has taken care of me and
my family all these years.

I thank you, Your Honor, for taking your time in reading my plea to you; my father is a
loving, kind, respectful man; he is one of a kind, and he deserves to be home with his
family. Again, I appreciate you taking this into consideration; may God Bless you.

Respectfully yours,

Cothancmne. de) Booodciks

Catherine DiBenedetto
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 4 of 26 PagelD #: 1982

Honorable Judge,

| am writing on behalf of my father who has been incarcerated now since 1992.
Your Honor, I am pleading with you to grant him his freedom and allow
whatever remaining years he has left to be spent at home with our family. He
has served enough time and deserves to be comfortable in the presence of his
children and grandchildren. Prison isn’t a suitable environment for any elderly
man going on 89 years of age, let alone one with deteriorating health issues.

Even without him present, throughout a majority of my life, he is, was, and
always will be my heart, soul, and inspiration! My dad always pushed me to be
a better person each and every day. I graduated from two top tier academic
schools: Archbishop Molloy and St. John’s University-maintaining good grades
and always staying out of trouble. Without my father’s positivity and guidance
I’d have never been able to get through those years, as well as many other
tough life choices and experiences there after.

Graduations, holidays, birthdays, and family gatherings were never the same
since I was 13. In fact, | suffered bouts of depression and seclusion, feeling lost
and alone, but it was my father who pulled me out of such dark moments. I
can’t begin to express how much of an impact his wisdom and advice helped
me during those rough times in my life.

He has missed out on seeing all of his grandchildren grow up, and may I say,
each and every one of them have flourished with their lives and careers because
of his sound advice and influence.

Besides being away for three plus decades, he has suffered dearly hearing
about loved ones who have passed on. The saddest and most tragic of them all-
the passing of my mother, his beloved wife. My mother lost her battle to lung
cancer in February of 2012, and because she couldn’t travel due to intense
chemo treatments, my father never got a chance to say goodbye in person.
What made it worse was that I had to let him know through a phone call that
she had passed. ‘Till this day, I never got over that experience and probably
never will. At first glance I thought it was hard for us, but then put myself in
my father’s shoes hearing that news, and it broke my heart even more so
considering where he was.
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 5 of 26 PagelD #: 1983

I can’t begin to express how devastating that experience was for our entire
family. Yet, through all the hardships, I never once heard my father complain
about his situation. He was and still remains upbeat, pushing us all to stay
together because after all, family is everything. He is the true definition of a
man’s man, and I can only hope one day to be half of what he is.

I live with my sister, while my other sibling lives one house over. We can easily
tend to him at home 24/7 with round the clock love and care. Whatever good
years he has left should be spent with us. Please grant us this wish and show
sympathy, Judge. Due to the Covid-19 epidemic none of us have been able to
visit in three and a half years. We are all heartbroken, Your Honor. It’s a
helpless feeling as a family to not be by his side.

Currently, he needs assistance walking, and due to his condition, he can no
longer send messages on the computer or write a letter home. His cellmate has
to push him in a wheelchair each and every day, even assist for a simple phone
call. On a side note, my father has been a model prisoner for all 32 years of his
incarceration. Not one single altercation or issue with any other inmates or
even a guard. Even his past warden loved him and said if it were his decision,
he would have been home already. I apologize for this long winded letter;
please show compassion, and grant my father his release. At his age, he
deserves a second shot at freedom. Please, Judge. Thank you for taking the
time to read this, Your Honor. Much appreciated...

With respect,

RE

Robert Amuso
: 1984
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 6 of 26 PagelD #

United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Vittorio Am uso

Dear Your Honor,

I humbly appeal to you for the compassionate release of my stepfather
Vittorio Amuso,

values like family, manners, church, attending parent /teacher conferences or just a
kind ear to listen, he was always there. He wanted nothing but us to be kind and

decent people. I believe he has succeeded in that judging by the people we are
today.

Our Dad is turning 89 years old. Although he may look amazing for his age,
he does have multiple health issues and wil] require much more assistance as he
ages and his health deteriorates. [t would be a privilege and an honor to be able to
€ care and assist him and be able to return the love and care he gave to us. I feel
in my heart of hearts he has served a very long tough road of time in prison, yet

Respectfully Submitted,

(VLAL Vise

Michele Vasti
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 7 of 26 PagelD #: 1985

United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Vittorio Amuso

Dear Your Honor,

I humbly appeal to you for the compassionate release of my father-in law
Vittorio Amuso.

Sadly, my relationship with my father-in-law has only been through visits,
letters, and phone calls. He welcomed me as a son in law immediately and has only
shown me kindness, love and respect over the years and has expressed his gratitude
for me being a loving husband and father and he will always joke with me about
me being a Dallas Cowboy fan.

He has been an advocate of my children’s education and expressed how
important a college education is. He has followed their academic and athletic
achievements and milestones from kindergarten throughout college. Over the years
he has always been selfless and compassionate in our conversations and only
expressing concern for the wellbeing of my family and me.

Over the years while being incarcerated he has had to endure time away
from his family, not being able to be there to witness his children and
grandchildren grow up, or to be there as family members suffered from illness and
passed away and see any family members for close to three years due to the
pandemic and throughout this all he keeps a positive spirit.

As we grow old one realizes that life is short and what we cherish the most
is the memories one gets from there family, it could be a child’s first steps, a sunset
with loved ones, the smell of sauce on Sunday, or anything else that by only being
in the present can create a memory. Your Honor, please grant Vittorio Amuso

compassionate release, so he can be surrounded by family and loved ones for his
remaining years.

Sincerely,

—_————

Carl Vasti
DocuSighEASRpe-i9 Ongtteh4A6: ER7-cRaGuOMeabtzher3-13 Filed 06/09/23 Page 8 of 26 PagelD #: 1986

Dear Your Honor,

| hope this letter finds you in good health. | am writing to you today with a deep sense of urgency and a
plea for your compassion. | would like to bring your attention to the case of my grandfather, Vittorio
Amuso, who has been incarcerated for my entire life. | kindly request your consideration of granting him
compassionate release based on his age, declining health, and the profound impact it would have on our
family.

At the age of 88, my grandfather is advancing in age and facing the reality that he does not have many
years left. His health has deteriorated over the years, with various medical issues requiring ongoing care
and attention. It deeply saddens me to know that my relationship with him has been limited to sporadic
visits and short phone calls due to his lengthy imprisonment. | long for the opportunity to foster a stronger
bond and create lasting memories with my grandfather, especially during this critical time in his life.

One aspect of my grandfather's character that has always stood out to me is his unwavering advocacy for
education and his insistence on staying away from negative influences. Despite his circumstances, he
consistently emphasized the importance of academic excellence and personal growth. Throughout my
educational journey, my grandfather was a pillar of support, constantly encouraging me to pursue my
dreams and achieve my goals. His guidance was instrumental in my graduation with Honors from Stevens
Institute of Technology..

Furthermore, my grandfather's influence extends beyond academia and into my professional life.
Currently, | serve as a manager for a leading financial technology company, a position that | owe in part to
his unwavering support and guidance. His advice and wisdom have shaped me into the individual | am
today, and | am forever grateful for the impact he has had on my career.

Considering the circumstances, it would mean the world to me and our entire family if my grandfather
could spend his remaining years at home, surrounded by loved ones. The opportunity to create lasting
memories, share stories, and offer support during this time would be immeasurable.

In conclusion, | kindly implore you to review my grandfather's case and grant him compassionate release.
His age, declining health, and the immense impact it would have on our family make this a matter of
utmost importance. | am confident that your compassion and understanding will prevail, and my
grandfather will have the opportunity to spend his final years in the embrace of family and love.

Thank you for your time and consideration.

With heartfelt gratitude,

Carl Vasti

DocuSigned by:

Carl Vasti

BAZFC7335531404...
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 9 of 26 PagelD #: 1987

Dear Honorable Judge,

My name is Gaetano DiBenedetto, and | am writing this letter on behalf of my grandfather, Vittorio Amuso.
He is 88 years old and has spent the last thirty two years behind bars. | can’t think of a person more
deserving of a second chance than him. Being one of eighteen children his life has never been easy. He was
forced to grow up quickly and learn to provide for himself and his family. A task that he has never run away
from. | don’t know where my family and | would be if it were not for his love and support throughout our lives.

lam 33 years old, and even though my grandfather has been away for my whole life, he has played such
a major role in making me the man | am today. | don’t even think he knows how much of a positive influence
he has had in my life. He has shown me so much love and compassion and truly what it means to be a man.
Since | was younger, | could always count on his call to bring a smile to my face, encourage me to do my
best, and reassure me that | am loved. As | gotten older, that has never changed and has been such a
blessing to me. He taught us all the importance of family, and | believe does his best to stay so strong to
make sure that we are always okay and united. We have been through a lot as a family, and we always find
our way back to each other thanks to the great values and principles he has instilled in us.

Since | was a young boy, | have been dreaming of the day that he would come home. It breaks my heart to
think of all the things he missed out on, especially not being able to say goodbye to my beautiful
grandmother. | ask you, Your Honor, to please take my grandfather’s compassionate release into
consideration. He has been a model inmate, and deserves nothing more than to be able to spend his last
remaining years with our family. | thank you for your time and consideration.

Respectfully yours,

Gaetano DiBenedetto

2 Wise
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 10 of 26 PagelD #: 1988

Dear Your Honor,

My name is Teresa DiBenedetto, and | am a 35-year-old Family Nurse Practitioner and
the granddaughter of inmate Vittorio Amuso. | am writing today to request a
compassionate release for my grandfather, who has been incarcerated for 32 years and
is now 88 years old, eftectively serving a life sentence.

Throughout his time in prison, my grandfather has been a model prisoner. Despite the
challenges he has faced, he remains strong in spirit, faith, and committed to leading a
meaningful life. As his grandchild, | have had the privilege of communicating with him
throughout his incarceration and can attest to his good character and positive influence
on my life. Although not being physically present, My grandfather never ever forgot a
birthday or special event in my life. He went above and beyond to “be there” when in
reality he couldn't be.

During my journey through nursing school and becoming a Family Nurse Practitioner,
my grandfather was a constant source of support and encouragement. Despite his own
difficulties, he never ceased to encourage me to pursue my dreams and helped me in
any way he could. One of the most significant ways he supported me was by sending
me books related to my studies. He even wrote notes of encouragement in the margins
of the books, which motivated me to continue working hard towards my goals.

However, his absence has caused immeasurable pain and suffering for our family. My
grandmother passed away without him by her side. His children and grandchildren,
including myself, have grown up without being able to physically have him present.
The very few early memories | have with him, which are repeated every phone
conversation, are my most cherished. | would aive anythina for one more new memory
with him.

Furthermore, my grandfather's health has significantly deteriorated since his
incarceration 32 years ago. He suffers from heart complications, prostate complications,
and severe rheumatoid arthritis, which have made his living conditions unbearable over
time. Due to his rheumatoid arthritis, he has a significantly reduced ability to perform
daily activities and self-care, which can lead to increased reliance on others for
assistance. Older adults like him with rheumatoid arthritis are at a higher risk of
developing infections, and being in a confined space like a jail can increase the risk of
exposure to infectious diseases. This risk is further compounded by the COVID-19
pandemic, which has disproportionately affected my grandfather, who has already
suffered through Covid twice.
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 11 of 26 PagelD #: 1989

individuals with rheumatoid arthritis require ongoing medical care to manage their
symptoms and prevent further complications. !n a jail setting, access to medical care
may be limited, and delays in receiving treatment can lead to worsening of symptoms
and other health complications.

Overall, my grandfather's health is in an extremely fragile state. His rheumatoid
arthritis, along with other comorbidities, can be a complex and challenging experience,
as it can exacerbate the physical and emotional burdens of his condition while limiting
access to appropriate medical care and support.

As a practitioner, | believe that my grandfather's comorbidities and current health
status qualify him for a chance to live out his few remaining years in a sate and caring
environment. He has a loving family that is begging for a chance to support him during
this difficult time, and for the opportunity to provide him with the care, love, and
support he needs during nis remaining years.

| respectfully request that you consider my grandfather's case for compassionate
release. | want to thank you for hearing my voice, and | appreciate your time and
attention to this matter. Please let me know if you require any additional information or

support from me.

Sincerely,

pene J) Bare ho
Teresa eredetto
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 12 of 26 PagelD #: 1990

Dear Your Honor,

I am writing this letter in hopes of compassionate release for my grandfather, Vittorio Amuso.

For as long as I’ve been alive, I have mostly only been able to hear my grandfather’s voice
through brief phone calls, with exceptions to a few face-to-face visits. Despite these
circumstances, we always valued and cherished every moment we had to speak together. A
grandfather ultimately holds a special place in a person's life, as he played a pivotal role in
providing guidance and assurance when I was growing up. Every time we spoke, he always told
me to “stay in school and to keep up the good grades”. | have now graduated from Rutgers
Business School this past month, and it pains me that he wasn’t able to see me walk down the
aisle for graduation, because I know he would be so proud. Over the past decade, I have grown
and accomplished so much and was only able to share these achievements through a timed phone
call. I know this was painful for both of us, but no matter what I was always able to see how
much love he had for me.

With that being said, time doesn’t stop for anyone. I am now 21 years old and have never been
able to see my grandfather outside guarded walls. With compassionate release, then can all
change and he can spend his remaining years with the comfort of his loved ones.

Sincerely,

Thomas Vasti

Prom Vast
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 13 of 26 PageID #: 1991

Your Honor,

My name is Vittorio (victor) DiBenedetto, | am the grandson of Vittorio Amuso.
lam currently 30 years of age and | work for an Investment Bank (IBCM) on the
Financial Crimes Advisory Team for Wells Fargo. It is a genuine honor to write this
letter to you in perchance and in favor of that Vittorio Amuso can come home to his
loved ones. When I was born, 30 years ago, my grandfather was sent away for a life
imprisonment. Since then, it has been a very elongated time since I last saw his face,
only to have the opportunity to hear his voice and to write incessantly letters to one
another.

However, most recently when speaking to my grandfather on the phone, I heard a
big difference in his voice, this was ultimately heartbreaking for me. After all these
years, I finally realized the toll to which this all had impacted his life and in
correlation to all of our lives, friends, and family who loved him so dearly. Presently,
my grandfather is not in good health, and I believe that age bears on his well-being.
During past calls, he would say “Hello I am doing great”, “Papa is very strong”, and
“doing push-ups and a lot of reading”. Continuously, he would call daily, to help us
move forward in our lives without once ever making us feel any sympathy for
himself. He would remember every little detail of each of our lives and aided us
mentally to look past as he would say “This too shall pass”, or to make sure the
family and friends would stick together. | live by that quote because of him. Strong
meaning...because we all have those days when we feel so amazing or the days
when we can feel so down. Therefore, this too shall pass, in both good and bad times
of our lives, we need to be humble in life, and just be good to one another because in
the end that’s what life is about. These are the many lessons that my grandfather
taught me, and I can say for a fact, | grew up to be an “amazing young man” as he
would tell me, and this is because of him. Selfishly, me included, people would
complain to him, whether about their struggles or what we (liberated people) were
experiencing outside of a prison wall. Not to realize how strong his words were.
Every time (beginning from my childhood years), that | would go to the local store,
gym, library, etc., | would be approached by someone, who would reflect on my
grandpa. They would begin to tear up or laugh when telling me a memorable story
they shared with him. To me, portraying the narrative of everyone’s opinion of him,
he was a hero, who helped many people during the bad times and even good times.
He continuously showed his support and gratitude for his loving family, friends, and
strangers.

Reflecting on the many years that have passed, family members passing away,
birthday celebrations, academic achievements. weddings, engagements, and
anniversaries, etc., were the years without our grandfather here to experience it
with us. And for the most recent event March of 2020, due to Covid restrictions, we
were not able to visit my grandpa in person. It’s been a huge stress on everyone to
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 14 of 26 PagelD #: 1992

hear his voice, noting his age now, and not being able to visit him, is a real burden on
all of over lives. It would be only right and righteous to let my grandpa share his last
memories at home with us, for us to take care of him before his last breath. Enjoying
the few days or years he has left on this earth with his family. I prayed for years for
this day to happen, also during when my beloved Grandma was alive. However, |
know she is watching down on all of us, and it would be a great honor to show my
grandma that he has made it back in the home reunited with his family and loved
ones.

It is my sincere hope that the court finds this letter from my heart and in careful
consideration to let Vittorio Amuso return to his family after all these very long
tiresome years of pain. Thank you very much for taking the time to read what I had
to say, it truly means the world to me.

Best Regards,
Vittorio Robert DiBenedetto

iV,

 

VV Pncele
Case 1:90-cr-00446-FB Document 1223-13 .Filed 06/09/23 Page 15 of 26 PagelD #: 1993

April 29, 2023

Dear Your Honor,

| hope that this letter finds you well. My name is Marie A. Swierkowski and | am the older sister
of Victorio Amuso. 1 am ninety-eight (98) years old and have asked for my words to be typed so that you
do not struggle with reading my handwriting.

Our parents had eighteen (18) children. Our mother died in 1955 at the age of sixty (60). Victorio
and | have lost most of our brothers and sisters, there are only four (4) of us alive at this time. | am the
only’sister left and our living brothers are Dominic. and Rudy. Rudy has incurable cancer and Dominic has
a severed nerve in his spine and is not fully mobile. As | approach my 99" birthday on June 151 am
reminded that there are no friends or relatives left who have even met our late brothers and sisters. | am
a widow. My brother Victorio is my emotional companion.

My oldest son Edward recently had a life altering stroke leaving my son Joseph to look after me.
My son Joseph temporarily moved me into the home of a friend, Christina Puglisi, who at the age of
eighty (80) cares for my physical needs. | feel as if | have been casted aside. My son Joseph is doing the
best he can but! am told that my elder son’s needs must take priority over my own. My brother Victorio
is the only one who provides me with genuine love. He has never forgotten me.

Victorio.asked me not to visit him during the thirty-two (32) years that he has been incarcerated.
_ Victorio was more concerned about what ! would be required to endure at the prison than for his own
desire to see me in person. Victorio’s calls have been the best medicine for me. Victorio’s calls help me
to carry on.

| do not know what more to say or how to express myself to you in a way that would convince
you to allow my brother to return home before we both pass. | will pray to God for your decision.

Thank you.
With the utmost respect,
Marie N. Swierkowski

c/o 216 Fox Ct., Merrick, NY 11566
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 16 of 26 PagelID #: 1994

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SCOTT G. CERBIN
May 8, 2023

Re: Victorio Amuso
Dear Honorable Court,

I submit this letter for the Court’s consideration on behalf of Victorio Amuso, Please note
that I am not the attorney of record for Victorio Amuso nor have | been retained/paid by Mr.
Amuso to write this letter.

I was a young child when I met Victorio Amuso and several of his siblings. Very few
Italian-American families from my childhood have family members who have attained college
educations or law degrees, Therefore, I am the only attorney that many from this older generation
feel comfortable reaching out to. I have been called upon for decades to provide legal advice and
do basic family-related legal work for this first generation of Americans. Now most are gone.

In 2012, Mr. Amuso’s children reached out to me when their mother died for help with
their mother’s estate. I had an opportunity to work with Mr. Amuso as the attorney for his late
wife’s estate. Mr. Amuso at that time was pensive. | witnessed a man who, although unable to
mourn with his children in person, expressed no anger towards God, no anger towards the Court
and no anger against the prison personnel. The house owned by Mr. Amuso’s wife is now owned
by their children. The Amuso family remains in this very home to which Mr. Amuso hopes to
one day return.

More recently in 2022, Mr. Amuso’s ninety-eight (98) year old sister, Marie N.
Swierkowski, temporarily began being cared for by my eighty (80) year old mother. Needless to
say, the “Golden Girls,” as I refer to them, require my assistance on many levels. I am often
present in my mother’s home when Victorio Amuso calls to speak with his sister. Due to Ms.
Swierkoski’s hearing loss, the calls usually take place while the phone is on speaker mode. This
has allowed me to hear promises of prayer exchanged between Mr. Amuso and his sister. Mr.
Amuso has spoken to me at times as well. Mr. Amuso’s words lead me to believe that Mr. Amusc
relies on his Christian faith to get him through life behind bars.

It is my hope that the Court is able to reach a decision that favors Mr. Amuso without
pause or hesitation.

 
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 17 of 26 PagelD #: 1995

April 29, 2023

Dear Your Honor:

Please accept this letter as evidence of the care and love that | have witnessed expressed by
Victorio Amuso,

lam the life-iong friend and caretaker of Marie N. Swierkowski, the sister of Victorio Amuso. In
the past year, | have watched Marie sit by the phone patiently waiting for calls from her brother Victorio.
Victorio provides his sister with comfort. | listen to the calls because Marie is nearly deaf and she can
only hear her brother when the phone is en speaker. Victorio patiently listens to his sister repeat stories
from their childhood. The calis bring Marie momentarily to a place of happiness. Victorio never fails to
call his sister no metter how draining the conversations can become.

1am eighty (80) years old, | could not bear to see my friend Marie placed in nursing home. There
is never a month, week or day that goes by when Marie doesn’t say to me, “I know Victorio is going to
walk in your front door any day now and surprise me!”

| have not heard any anger in Victario’s voice. He never uses profanity or shows any form of
agitation. His words are simple and.conversations are sweet between Victorio and his sister. Most people

have not seen Victorio in oven thirty years, so the only way to know his character is through these tender
phone calls.

| hope that you can reach your decision in a way that allows you to grant the application being
asked of you and Marie’s wish to see her brother before they both die be granted.

Thank you.

Sincerely and respectfully,

C fauiline Pg bn”
Christina Puglisi ;
140 Cheltenham Rd.

' W. Babylon, NY 11704
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 18 of 26 PagelD #: 1996

Marianne D. Taras
111 SE 3rd Avenue
Apt. 401
Dania, Florida 33004

April 26, 2023

United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Vittorio Amuso

Dear Your Honor:

My name is Marianne Taras. I have one child, a son, named Vincent. We currently live
in Florida. We moved from Queens, New York when my son was 7 years old. I am currently
working for an Airline since the year 2000. After our move our to Florida in 1976, we have
returned to New York numerous times over the years to visit family and friends. Unfortunately,
my parents have passed on many years ago.

We were in New York in the early 1980’s for a visit and we met Victor through friends.
I have respect for the decision the Court made many years ago when Victor was sent to

prison. He has been incarcerated for a very long time. This is the reason ] am writing to Your
Honor.

I would like to tell you a little bit about Victor as we know him. I have deep admiration
for Victor, just as he has respect for my son Vincent and myself throughout the years. He is
considerate and good natured. I have never heard a vulgar word come from his mouth, even
though I have used a few myself! Many summers in the early 1980's my son and I would drive
up to New York and spend a few weeks with my family. One year in particular, we ran in to
Victor. I will never forget that day even though it was over forty years ago. He looked at the car
I was driving and told me there were no threads on my tires and he couldn't believe we drove up
to New York like that. He sent us to a gas station to have all new tires put on my car, and he
paid the bill. He was so concerned for our safety. Someone does something like that for you, it
touches your heart in a special way and you can never forget. We would see him on our visits to
New York and he was always concerned as to how we were doing. We couldn't believe he was
sent away. I guess it was several months later I found out where he was and wrote to see how he
was doing.

Victor and I have corresponded with each other all of these years he has been
incarcerated. I consider him a good friend. I have seen his strength and his character in the
words he wrote to me. I have read letters from him and many times I have cried. When his
brother Bobby passed away, I could feel the pain in heart in the words he wrote to me but I was
not able to help him. When he lost good friends and couldn’t say goodbye or attend their
funerals, I felt the pain that he felt. But the worst time in his life was when he lost his beautiful
wife Barbara. He told me he spoke to her on the phone the day before she passed. I could never
imagine losing a spouse and not being there with family to make preparations for our final
goodby”'s. He was not there with her as she laid in the hospital bed, not holding her hand, not
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 19 of 26 PagelD #: 1997

telling her how much he loved her, and not being able to say goodbye for the last time. No, I
could never imagine this, and never would I want to.

Victor has grown children and has grandchildren. He doesn’t see them, doesn’t get to
hug them and hold them dearly close to his heart. So, I pray to God every night on my mother’s
rosary beads. I pray that he will be sent home, and I will continue to pray nightly. He needs to
come home and have the opportunity to be with his loved ones, to have the last few years of his
life with his children. They have suffered greatly being away from him over thirty years. I hope
they will get to see him again, even if it is just for a little while. I pray with all my heart.

I thank the Court in advance and I pray for consideration to let Victor walk out and be a

free man once again after all this time. I have no doubt in my mind that he has been an
exceptional inmate.

I can be available for confirmation of this letter either by phone or e mail. Please do not
hesitate to reach out to me if needed.

Sincerely,

Marianne D. Taras
954-288-7879
Mariannetaras 107@gmail.com
rd
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page May PPraKi3d 1998

Dear Judge,

| am writing this letter in support of my dear friend Vittorio Amuso in hope that
my story would help you look favorably upon his request for compassionate
release.

My name is Vincent Luccisano and | have been blessed to know Vic since | was a
child. My earliest memories of Vic were of his warmth, humor and intelligence. He
always took time to patiently listen to the nonsense that a young boy would
indulge in. He also impressed me with his knowledge of history and encouraged
my curiosity and my desire to learn.

When my father passed away at 45 years old | was 20 years old. My young,
widowed mother, three younger sisters and | were thrown into a state of sorrow
and uncertainty. The love and friendship that Vic brought us at that difficult time
was a Godsend and | will never forget his kindness to my family.

Vic and | exchange letters regularly and it is apparent to me from his writing that
his health has seriously diminished. While he used to write about keeping strong
and active he now talks about his pain and ailments. I’ve never known him to

complain and this makes me worry that his condition is possibly more advanced
than he !et’s me know.

His family has suffered many losses including the loss of Vic’s dear wife Barbara
which | know was particularly hard for Vic. | respectfully hope that due to his
advanced age and diminished health you would look favorably upon his

compassionate release. It would be a blessing for his friends and family to see him
return home to spend his years with his children once again.

 
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 21 of 26 PagelD #: 1999

Character Letter - Vittorio Amuso - Reg#38740-079

From: Tary Gilbert (tary.gilbert@gmail.com)
To: — dipietrolaw@yahoo.com

Date: Friday, April 28, 2023 at 10:16 AM EDT

Anthony DiPietro, Esquire
15 Chester Ave
White Plains, NY 10601

| am writing in reference to Vittorio Amuso. It is my understanding that his petition for compassionate release is due to

be heard by the courts in the near future. | had the pleasure and honor of not only meeting Papa Vic but living with him
for over a year at FC| Cumberland. It is my hope that my words expressed in this letter will contribute to your efforts in

allowing Papa Vic to spend the remaining years with his family and loved ones.

When | first arrived at FC] Cumberland and eventually made it over to Unit C-2, | noticed an older gentleman who
routinely walked laps around the unit and was very cordial to all whom he came into contact with. After a couple of days
of being on the unit | had the opportunity to introduce myself to him and we exchanged pleasantries. | was intrigued at
how he carried himself and at how good of shape he was in at his age. | did not know who he was or why he was in
there. My impression of him was that he was very courteous and respectful. | soon ended up moving into the cell right
next to him and eventually became friends with his cellmate, Ryan Randles. As | started to get to know Ryan, | also
started to interact more and more with Papa Vic as | would routinely share my homemade apple pies with them. He
graciously accepted my apple pies even though Ryan probably ate most of them.

While going about my daily routines | would see Papa Vic be very active by walking the unit as well as going out the
recreation yard to do pull-ups and dips. | was amazed at how active he was as well as the physical shape he was in.
He told me that it was very important for him to stay in good physical shape.

Ryan left to go home in December of 2021 and shortly after Papa Vic came and asked if | would move in with him. He
saw how | carried myself and that | was not involved in drugs or anything of the sort. Shortly after moving in with him,
we went on Covid lock-down. During the lock-down he continued to do push-ups and curls in the cell on a regular
basis. After moving in with him | learned about how much he liked to read. | was amazed at the number of books that
he read and also about how he remembered every book that he read and would tell me about the different stories in the
books. | asked him about all the books that he read, and he told me that they can take his physical freedom, but they
can never take his mind. Reading those books allowed for him to vicariously experience freedom that was so far from
his reach.

While living with him | also got to learn about what type of man he is now, not what is depicted in the "Made for
Hollywood" shows and articles that you may read or watch. | learned that he loves his family dearly and that he has a
soft spot for birds and squirrels. While not on lockdown he would feed the animals on a daily basis even if it meant that
he would go without. Not only that but he also had a heart for others. If he noticed that someone didn't have much of
anything, he would give them whatever they needed. He would go without just so that someone else would have some
coffee or food. He would routinely make wraps/burritos and pass them out to others. You could see that is warmed his
heart to see others enjoy his cooking.

In addition to this he would often talk to me about how | need to get back home and take care of my mom. He would tell
me that | didn't need to fool around with drugs and the fast women. He would preach to me about working an honest job
and providing for my family. | learned how much he respected the honest and hardworking man that provides for his
family. He made me promise him that | would stay away from the drugs and that | would dedicate my life to being a
family man. | made that promise and | am keeping that promise.

| tell you all this because a lot changed over the last six months that he was at FCl Cumberland. In August of 2022, we
both contracted the corona-virus and were sent to the SHU for quarantine. This was not the first time that Papa Vic had
covid, but this is when | started to notice a big change with him. His exercise routine changed as he was not walking
around as much, nor was he going to the recreation yard anymore. He would still do push-ups in the cell but he also
started to cut back on those. The pain in his hip and leg started to become unbearable. He has previously gotten
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 22 of 26 PagelD #: 2000

cortisone shots in his leg to help with the pain. | believe that the last shot that he received was back in March of 2022.
These shots would help with the pain that is caused from his arthritis. He started requesting these shots again from the
medical staff early in September or even sooner but never got any relief. His requests were ignored time after time. All
the while, his pain continued to get worse and worse. | was able to secure a couple of large zip lock bags and would fill
one of them with 190-degree water and double bag it, placing it on his thigh to act as a heating pad. We would do this
pretty much every night right at lock-in. We were trying just about everything to help him with his pain. Remind-you,
neither one of us were medical professionals. He was desperate to get some relief from the pain as it had started to
keep him up at nights.

During this whole time, he wasn't even able to walk up to the chow hall to get his own food. The pain was starting to
cripple him. | saw him change right before my eyes from a vibrant highly active older gentlemen, to a frail decrepit man.
Though, he would never complain or allow for his family to know what kind of pain he was in on a daily basis. It broke
my heart to see him suffering like this without any relief or without any of the medical staff caring that he was in so much
pain. My eyes are tearing up writing this letter. It was heartbreaking watching him deteriorate right before my eyes. It
had gotten to a point where we needed a wheelchair to take him back and forth to his medical appointments. Though,
he continued to walk in the unit with great trouble.

| say all this to let you know that it is in-humane to continue to allow him to be locked up without any real medical care.

It is my understanding that the BOP is unable to properly treat Rheumatoid Arthritis. This man needs to be treated by
medical professionals who are trained and able to treat this medical condition. It is my sincerest hope that the courts
grant this man the compassion that he needs and that he can spend his remaining years surrounded by his loving family
where he will get the care that he deserves.

Sincerely,

Tary L. Gilbert

8525 Mc Cann Rd
Kensington, OH 44427
tary.gilbert@gmail.com
Case 1:90-cr-00446-FB Document 1223-13 , Filed 06/09/23 Page 23 of 26 PagelD #: 2001
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May 1 2923-3

Ta P. : Nckuowledlynent-Letter Fer Wielerto A wave,

 

Dear Mr. Natheay Dre te ho, Ess.

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Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 24 of 26 PagelD #: 2002

John C. Berkery, MA, CPL
Certified Paralegal
2115 Fairwold Lane
Fort Washington, PA 19034
(215) 380-1939
law_fed.state@yahoo.com
April 21, 2023

Re: Letter of reference for Vittorio Amuso
To Whom It May Concern:

| write on behalf of Vittorio Amuso, a prisoner at FCI Butner, Reg. No.
38740-079. Mr. Amuso is a 90-year-old man who has been imprisoned in the
Federal system for 32 years. |am a retired paralegal and have been in touch
with Mr. Amuso as a pen pal for the better part of twenty years.

During that time, | believe | have gotten to know Mr. Amuso very well. |
have found him to be intelligent, brave, and loyal. He is a very honorable
person. I’ve watched as he bore up under the loss of his wife, and the onset of
serious medical problems. He has difficulty seeing at this point, and has been
beset with crippling arthritis which is getting progressively worse; at present he
is ona walker, all this in addition to having heart problems. Still, he has
maintained his spirit. He has always been incarcerated outside driving distance
for his children, yet still he doesn’t complain.

If anyone ever deserved compassionate release it is this man. Half his
adult life has been spent behind bars. And at this point, the only hope that
remains for him is that in these his few remaining years (or remaining year or
months as the case may be) the government will show the mercy and
humanity to grant him Compassionate Release and release him into the eager
hands of his children who will provide for him during the limited time he has
left. Without going into the merits of the crimes of which he’s been convicted
or minimizing them, suffice to say they’re no worse than similar inmates who
have been granted this relief. | doubt if many could match Mr. Amuso’s
hardships. Therefore, | implore you to please rule favorably on Mr. Amuso’s
Petition.

Respectfully yours,

John C. Berkery, CPL
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 25 of 26 PagelD #: 2003

Honorable Judge,
| hope this letter finds you well and thank you in advance for your time and attention to it.

My name is Steven Bisciello, | am an upstanding, contributing member of society and | have
been honored and blessed to be a close friend of Vittorio Amuso and his family , most notably,
his son Robert Amuso for the past 40 years.

| am writing on behalf of both Vittorio Amuso and equally important, his loving

family. Vittorio's son Robert and | grew up together from first grade to present day and | have
been a first-hand witness of the difficulty and strife Robert and his family suffered

throughout (and continue to) Vittorio's incarceration.

This letter is a humble, respectful and gentle request to you, your Honor, as you have the
beautiful gift to provide "Mercy".

Respectfully your honor, "Mercy" is attributable to the multiple parties involved in this
hearing.

First, Vittorio is approaching 89 years of age. He has been blessed to remain relatively healthy
and strong during the bulk of his 33 years of strict incarceration, during which, he has been a
model prisoner with zero disciplinary issues with both correctional staff and inmates. As he
approaches 89, his health has deteriorated and will continue to do so do to a combination of
continued incarceration, inability to obtain multiple levels of health care and his current, long-
term ailments.

Vittorio's "Mercy" will be the ability to obtain the around the clock care he needs outside of the
correctional system, provided directly by and at the expense of his beloved family.

His family, specifically his son Robert, Robert's siblings and Vittorio's grandchildren, will take
Vittorio in and take care of him for the remainder of his life. This "Mercy" upon Vittorio not
only will positively affect his physical health, but equally important, Vittorio's emotional and
mental health which | hope and pray extends his life further and allows him to live out his
remaining days a free man amidst his loved ones. This also gives Vittorio's family the ability, to
attempt to make up "for lost time" and honor one another in the remaining years of Vittorio's
life. After a serving of 33 years as a model prisoner, | respectfully believe your honor,

that Vittorio has paid his debt to society and has earned the right to finish his life with and in
the care he needs.

Your Honor, you also have the beautiful ability to not only provide "Mercy" to Vittorio but to
grant "Mercy" to a larger group; Vittorio's family.
Case 1:90-cr-00446-FB Document 1223-13 Filed 06/09/23 Page 26 of 26 PagelID #: 2004

Page 2

As | referenced earlier, | have witnessed directly the stress, anxiety and continued sadness
suffered by both Vittorio's late-wife , their children and grandchildren, whom have been
without the direct, tangible care and oversight/guidance of their husband and father.

Vittorio did his best to guide and support from afar and yet In spite of this large void, Vittorio's
family have and continue to establish and advance themselves as professionals in their careers,
community and have always given without the thought of reciprocation. This is a direct
reflection of their father's guidance and the character he instilled in them in spite of his
situation. The family is a beautiful composition of business owners, health care professionals,
banking and garment professionals and laborers. Upstanding, god-fearing and productive
members of our society. Statistics show that children of incarcerated parents typically tend to
veer down an incorrect path and in the case of the Amuso's, nothing can be further from that
narrative. Again, this is a direct testament to Vittorio's care and tutelage to his family from
afar.

Their "Mercy" your Honor, will be to have back, although for an unknown period of time, this
tangible love, the closure of this deep void, and a direct healing of the pain and suffering they
have endured these past 33 years. It will provide them the opportunity to return that love from
afar, but in personal, close quarters that they have so longed ofr, even more so in the past 3.5
years due to the pandemic and its effect on visitation.

A stroke of your pen your Honor, can provide second chances to not only Vittorio, but to his
children and grandchildren, and deeply touch and positively affect so many while also setting a
positive ripple effect from their family further into the community they serve.

Finally your Honor as | am sure you are aware, you can grant "Mercy" from a financial
perspective, to the state and Dept. of Corrections. According to publishing's by respective
state's websites as well as the Dept. of Correction's website, the range of costs to house an
elderly inmate can be approximately $70,000 to over $110,000 per year and these costs will
increase as health ailments and natural aging progresses. Your power and the opportunity at
hand your Honor can provide a balanced, positive effect to all parties involved.

Your Honor, | will humbly close with another respectful and gentle request to please use this
gift that you possess to grant "Mercy."

| thank you again for your time and consideration.
With sincerity and respect,

Steven Bisciello

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